410 F.2d 754
    69-1 USTC  P 9352
    Princess E. L. LINGHAM, Appellant,v.COMMISSIONER OF INTERNAL REVENUE, Appellee.
    Nos. 551, 552, Dockets 33149, 33156.
    United States Court of Appeals Second Circuit.
    Argued April 17, 1969.Decided April 18, 1969.
    
      Princess E. L. Lingham, appellant, pro se.
      Johnnie M. Walters, Asst. Atty. Gen., Lee A. Jackson, Meyer Rothwacks, Daniel B. Rosenbaum, Attys., Dept. of Justice, for appellee.
      Before WATERMAN, SMITH and FEINBERG, Gircuit Judges.
      PER CURIAM:
    
    
      1
      Certain deductions appellant took upon her 1964 and 1965 income tax returns were disallowed by the Commissioner and deficiencies based thereon were determined for those years.  Appellant sought review in the Tax Court which allowed her $63.97 more in deductible charitable contributions in 1964 and $13.25 more in 1965 than the Commissioner had allowed; as to the remainder of the disallowed deductions the Tax Court agreed with the Commissioner.
    
    
      2
      After examination of the record before us we find that the determinations are not clearly erroneous and affirm the Tax Court.  Commissioner of Internal Revenue v. Duberstein, 363 U.S. 278, 80 S.Ct. 1190, 4 L.Ed.2d 1218 (1960).
    
    